                                                             FILED
                          NOT FOR PUBLICATION                FEB 28 2014

                                                          MOLLY C. DWYER, CLERK
                 UNITED STATES COURT OF APPEALS            U.S. COURT OF APPEALS



                        FOR THE NINTH CIRCUIT


CINDY LEE GARCIA,                       No. 12-57302

            Plaintiff - Appellant,      D.C. No. 2:12-cv-08315-MWF-VBK

  v.

GOOGLE, INC., a Delaware                ORDER
Corporation; YOUTUBE, LLC, a
California limited liability company,

            Defendants - Appellees,

  and

NAKOULA BASSELEY NAKOULA,
an individual, AKA Sam Bacile; MARK
BASSELEY YOUSSEF; ABANOB
BASSELEY NAKOULA; MATTHEW
NEKOLA; AHMED HAMDY; AMAL
NADA; DANIEL K. CARESMAN;
KRITBAG DIFRAT; SOBHI BUSHRA;
ROBERT BACILY; NICOLA
BACILY; THOMAS J. TANAS;
ERWIN SALAMEH; YOUSSEFF M.
BASSELEY; MALID AHLAWI,

            Defendants.



Before:    KOZINSKI, Chief Judge, GOULD and N.R. SMITH, Circuit
           Judges.
                                                                                 page 2
      Appellees’ second emergency stay motion is denied. The order of February

19, 2014, is modified as follows:

      Google, Inc. shall take down all copies of “Innocence of Muslims” from

YouTube.com and from any other platforms under Google’s control, and take all

reasonable steps to prevent further uploads of “Innocence of Muslims” to those

platforms. Google shall comply with this order within twenty-four hours of the

issuance thereof. This order does not preclude the posting or display of any

version of “Innocence of Muslims” that does not include Cindy Lee Garcia’s

performance.

      This order will remain in effect until such time as the district court enters a

preliminary injunction consistent with our opinion.
